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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: GENERIC PHARMACEUTICALS                         MDL: 2724
 PRICING ANTITRUST LITIGATION                           16-MDL-2724

 THIS DOCUMENT RELATES TO:                              HON. CYNTHIA M. RUFE
 ALL ACTIONS
                                                        Civl Action No. 2:19-cv-02407


                      NOTICE OF WITHDRAWAL OF APPEARANCE

TO THE CLERK:

         Pursuant to Local Rule 5.1(c), the undersigned, Erica Koscher of the Office of the

Attorney General of the State of Washington, hereby submits her Withdrawal of Appearance as

counsel for Plaintiff State of Washington in the above-captioned matter. Assistant Attorney

General Travis Kennedy of the Office of the Attorney General of the State of Washington will

continue to represent Plaintiff State of Washington and it will not be without representation in

this matter.

Dated:          January 7, 2020

                                                      Respectfully submitted,

                                                      PLAINTIFF
                                                      STATE OF WASHINGTON
                                                      ROBERT W. FERGUSON
                                                      ATTORNEY GENERAL

                                              By:     /s/ Erica A. Koscher
                                                      Erica A. Koscher, WSBA No. 44281
                                                      Assistant Attorney General
                                                      State of Washington
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of January 2020, I cause the foregoing Entry of

Appearance to be filed electronically with the Clerk of the Court by using the CM/ECF system

which will serve a copy on all interested parties registered for electronic filing, and is available

for viewing and downloading from the ECF system.



                                                       /s/ Erica A. Koscher
                                                       Erica A. Koscher, WSBA No. 44281
                                                       Assistant Attorney General
                                                       State of Washington
